Case 2:20-cv-09701-FLA-JPR Document 47 Filed 09/27/21 Page 1 of 4 Page ID #:426



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 4                                                                     CC: FISCAL

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 8                         UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,              Case No. 2:20-cv-09701-FLA
                                            (JPRx)
12                       Plaintiff,
                   v.                       ORDER GRANTING STIPULATION AND
13
                                            REQUEST FOR CONSENT JUDGMENT
14   $246,000 SEIZED FROM SIGNATURE         [DKT. 43]
     BANK ACCOUNT ‘5022, et al.,
15
                         Defendants.
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Case 2:20-cv-09701-FLA-JPR Document 47 Filed 09/27/21 Page 2 of 4 Page ID #:427




 1        Plaintiff, the United States of America (“the government” or
 2   “Plaintiff”), and claimant Avi & Co. NY Corp. (“Claimant”) have
 3   made a stipulated request for the entry of this Consent Judgment.
 4        The court, having considered the stipulation of the parties,
 5   and good cause appearing therefor, HEREBY ORDERS, ADJUDGES AND
 6   DECREES:
 7        1.    The government has given and published notice of this
 8   action as required by law, including Rule G of the Supplemental
 9   Rules for Admiralty or Maritime Claims and Asset Forfeiture
10   Actions, Federal Rules of Civil Procedure, and the Local Rules of
11   this court.   Claimant has filed a claim and an answer.
12        2.    The government has not received any other claims or
13   answers, and the time for filing claims and answers has expired.
14   The court has jurisdiction over the parties and Defendants
15   $246,000.00 seized from Signature Bank account ending ‘5022 and
16   $41,928.00 seized from Signature Bank account ending ‘0520
17   (collectively, the “Defendant Funds”).
18        3.    Claimant has agreed to the forfeiture of $257,928.00 of
19   the Defendant Funds.     Any potential claimants to the Defendant
20   Funds other than Claimant are deemed to have admitted the
21   allegations of the complaint.       Nothing in this consent judgment is
22   intended or should be interpreted as an admission of wrongdoing by
23   Claimant, nor should this consent judgment be admitted in any
24   criminal proceeding against Claimant to prove any of the facts
25   relied upon to establish reasonable cause for the seizure of the
26   Defendant Funds.
27        4.    $30,000.00 of the Defendant Funds, without interest,
28   shall be released to Claimant through its counsel.
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Case 2:20-cv-09701-FLA-JPR Document 47 Filed 09/27/21 Page 3 of 4 Page ID #:428




 1        5.     If the government elects to make the payment of
 2   $30,000.00 by check, the check shall be payable to the “Law Offices
 3   of Eric Honig Client Trust Account,” and mailed to Claimant in care
 4   of its attorney, Mr. Eric Honig, at P.O. Box 10327, Marina Del Rey,
 5   CA, 90295. If the government elects to make the payment by wire
 6   transfer, the funds shall be wire transferred to the Law Offices of
 7   Eric Honig Client Trust Account.       Upon request from the government,
 8   Claimant, through counsel, shall provide identifiers and/or the
 9   necessary bank information to complete the transfer.
10        6.     The remaining $257,928.00 of the Defendant Funds,
11   together with all interest earned by the government on the total
12   amount of Defendant Funds, is hereby forfeited to the government,
13   and no other right, title, or interest shall exist therein.            The
14   government shall dispose of the forfeited property in accordance
15   with law.
16        7.     The court finds that there was reasonable cause for the
17   seizure of the Defendant Funds and the institution of this action.
18        8.     This judgment constitutes a certificate of reasonable
19   cause pursuant to 28 U.S.C. § 2465.
20        9.     Each of the parties shall bear its own fees and costs
21   incurred in connection with this action.
22        10.    On September 16, 2021, the court ordered the government
23   to submit a brief by October 1, 2021, detailing how it intends to
24   dispose of the remaining Defendant Funds, together with all
25   interest earned by the government.        Dkt. 44.   The government filed
26   its response on September 23, 2021, stating that it received a
27   petition for remission from the victim, M.M., which was sent to the
28   seizing agency.    Dkt. 46 ¶ 8.    According to the government, the
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Case 2:20-cv-09701-FLA-JPR Document 47 Filed 09/27/21 Page 4 of 4 Page ID #:429




 1   seizing agency has completed its investigation and recommended
 2   M.M.’s petition be granted.      Id. ¶ 9.
 3        11.     The government further states its counsel, on behalf of
 4   the United States Attorney for the Central District of California,
 5   will recommend to the Money Laundering and Asset Recovery Section
 6   (“MLARS”) that M.M.’s petition be granted.         Id. ¶ 10.
 7        12.     Having reviewed the government’s response, the court
 8   concurs with the aforementioned recommendation and encourages MLARS
 9   to grant M.M.’s petition and to remit all of the remaining
10   Defendant Funds to M.M.
11        IT IS SO ORDERED.
12   CC: FISCAL

13   Dated: September 27, 2021                                          _____
                                               FERNANDO L. AENLLE-ROCHA
14                                             United States District Judge
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